 

Case 6:13-cv-02602-CBW Document1 Filed 09/04/13 Page 1of8PagelID#: 1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
LAFAYETTE-OPELOUSAS DIVISION

MONICA ESTILETTE AND * CIVIL ACTION NO:
DONALD ESTILETTE *
*
VERSUS * JUDGE:
*
DOLLAR GENERAL CORPORATION * MAGISTRATE:
*

AND/OR DOLGENCORP, LLC

FIR I RRR IIR RR I III III II RIOR III III IIR RIO Idk take dedesededek deed

NOTICE OF REMOVAL

TO: The Honorable Judges of the

United States District Court for the

Western District of Louisiana

NOW INTO COURT, through undersigned counsel, comes Defendants, Dolgencorp,
LLC and Dollar General Corporation, who hereby files this Notice of Removal of the above-
captioned civil action pursuant to 28 U.S.C. § 1441 and 28 U.S.C. § 1446, and hereby removes
this matter to the United States District Court for the Western District of Louisiana based on
diversity jurisdiction, 28 U.S.C. § 1332 and avers as follows:

I.

Plaintiffs, Monica Estilette and Donald Estilette, persons of the age of majority and

domiciled in the Parish of St. Landry, State of Louisiana who, according to their Petition,
 

Case 6:13-cv-02602-CBW Document1 Filed 09/04/13 Page 2 of 8 PagelD#: 2

suffered injuries and damages on or about August 12, 2012, as a result of a slip/trip and fall
incident at Dollar General.’
Il.

On August 8, 2013, Plaintiffs sued Dollar General in the 27th Judicial District Court for
the Parish of St. Landry Parish, State of Louisiana. The Civil Action Number is 13-C-3695-C
and is titled “Monica Estilette and Donald Estilette v. Dollar General Corporation and/or
Dolgencorp, LLC.

Hil.

Dollar General was served with the suit on August 15, 2013. This case is removable
when undersigned counsel for Dollar General received correspondence from Plaintiffs’ counsel”
that Mrs. Estilette is requesting damages in excess of $75,000.00, See Exhibit 2. 28 U.S.C.
§1446(b)(3). This correspondence amounts to “other paper” from which it was first ascertained
that the case is one which has become removable. 28 U.S.C. §1446(b)(3); Brown v. Richard,
2000 WL 1653835 *5 (E.D. La.11/2/00). Dollar General files this removal within the 30-day
time period required by 28 U.S.C. §1446(b). Brown v. Richard, 2000 WL 1653835 *5 (E.D.
La.11/2/00) (holding that defendant’s removal within 30 days after receipt of plaintiff's surgical
reconunendation from plaintiffs counsel was timely.)

BASIS FOR REMOVAL
VI.
Removal is proper because there is complete diversity between the parties, and the

amount in controversy exceeds $75,000, excluding interest and costs. 28 U.S.C. §1332.

 

' See Exhibit 1, Petition q 5S.
* Plaintiff's Settlement demand letter dated 7/24/13 attached hereto as Exhibit 2.
 

Case 6:13-cv-02602-CBW Document1 Filed 09/04/13 Page 3 of 8 PagelD#: 3

COMPLETE DIVERSITY BETWEEN THE PARTIES
V.

Removal is proper because there is complete diversity between the parties. 28 U.S.C.
§1332(a).
1, Plaintiffs are citizens of Louisiana;?
2. Defendant, Dolgencorp, LLC, is a foreign limited liability company. The
sole member of Dolgencorp, LLC is Dollar General Corporation. Dollar
General Corporation is a foreign corporation. It is incorporated in the
State of Tennessee, and has its principal place of business in the State of
Tennessee. Thus, Dolgencorp, LLC is, in turn, a citizen of the State of
Tennessee;* and
AMOUNT IN CONTROVERSY
VI.
Additionally, Removal is proper because the amount in controversy exceeds $75,000,
exclusive of interest and costs. 28 U.S.C. §1332(a).
In order to determine what amount is “in controversy,” courts ordinarily refer to the state
court petition. Sz Paul Reinsurance Co., Ltd. v. Greenberg, 134 F.3d 1250, 1253 (Sth Cir. 1998).
Louisiana law mandates that plaintiffs may not petition for a specific monetary amount. La. Code
Civ. Proc. Art. 893(A)(1). However, Article 893 of the Louisiana Code of Civil Procedure does

require “that if a specific amount of damages is necessary to establish the jurisdiction of the

court, the right to a jury trial, the lack of jurisdiction of federal courts due to insufficiency of

 

* See Petition for Damages, attached hereto as Exhibit 1.
* Turner Bros. Crane and Rigging, LLC v. Kingboard Chemical Holding, Ltd., 2007 WL 2848154 (M.D. La

9/24/07) (providing that when members are themselves entities, citizenship must be traced through however many
layers of members there are.).
 

Case 6:13-cv-02602-CBW Document1 Filed 09/04/13 Page 4 of 8 PagelD#: 4

damages, or for other purposes, a general allegation that the claim exceeds or is less than the
requisite amount is required,” which Plaintiff failed to do in this case. (Emphasis Added).
VIL.

Defendants must establish by a preponderance of the evidence that the amount in
controversy exceeds $75,000.00, exclusive of interest and costs; however, a defendant is not
required to prove “to prove to a legal certainty” that the plaintiff will recover more than the
jurisdictional amount. De Aguilar v. Boeing Co., 47 F.3d 1404, 1408 (Sth Cir.1995). Instead,
defendants need only prove that the plaintiff, more likely than not, could recover more than the
jurisdictional amount.

VIO.

Plaintiffs’ counsel faxed a letter to undersigned counsel for Dollar General on July 12,
2013 that Mrs. Estilette is scheduled to undergo lumbar spine surgery on August 15, 2013, a
copy of which is attached hereto a Exhibit 2. On July 22, 2013, Plaintiffs’ counsel faxed a letter
enclosing Mrs. Estilette’s medical records to undersigned counsel evidencing that Dr. Jorge E.
Isaza’s recommendation that she undergo a lumbar fusion, a copy of which is attached hereto as
Exhibit 4.

IX.

It is apparent from the plaintiffs’ July 12, 2013 letter and Dr. Isaza’s recommendation
that Mrs. Estilette undergo a lumbar fusion that the amount in controversy now exceeds
$75,000.00, exclusive of interest and costs.

X.
Plaintiff Monica Estilette alleges that she sought medical attention, and is entitled to the

following damages as a result of the incident at issue:
 

Case 6:13-cv-02602-CBW Document1 Filed 09/04/13 Page 5of8 PagelD#: 5

1, Physical pain and suffering, past and future;

2. Mental anguish, past and future;

3. Mental suffering, past and future;

4. Medical expenses, past and future;

5. Loss of enjoyment of life;

6. Permanent disability and/or disfigurement;

7. Any other general damages recoverable under Louisiana Law; and
8. Loss of earning capacity.°

These injuries and damages including but not limited to the scheduled lumbar surgery, if
proven, more likely than not involve an amount in controversy exceeding the jurisdictional
amount. See Martin v. ERMC, II, 2009-491 (La. App. 3 Cir. 11/4/09); 23 So.3d. 1008 (the jury
awarded $103,000 in general damages plus nearly $100,000 in special damages for a cervical
and lumbar strain and possible spinal pathology). See also, Rehm v. Morgan, 04-344 (La. App.
5 Cir. 10/26/04); 855 So.2d 687, 691 (holding that “a bulging disc in the lumbar area of the spine

. is worth an award of $50,000.00 in general damages, and that the minimum amount that
should be awarded for a herniated disc, regardless of the area of the spine, is worth a minimum
of $100,000.00.); Bouqust v. Wal-Mart Stores, Inc., 2008-0309 (La. 4/4/08); 979 So.2d 456 (Jury
awarded a women that slipped and fell in a Wal-Mart store $115,000 general damages and over
$200,000 in past and future medical expenses following lumbar surgery); Hollenbeck vy.
Ocenaeering Intern. Inc., 96-0377 (La. App. 1 Cir. 11/8/96); 685 So.2d 163 (awarded $350,000

in general damages plus special damages for laminectomy/discectomy at L4-5).

 

* See Petition for Damages 12
 

Case 6:13-cv-02602-CBW Document1 Filed 09/04/13 Page 6 of 8 PagelD#: 6

XI.

Plaintiff Donald Estilette is the husband of Monica Estilette and alleges he suffered the

following damages as a result of his wife’s alleged injuries:

1. Loss of consortium; and

2. society and services;

This court has jurisdiction over Mr. Estilette’s claim. The Fifth Circuit has held that Rule 2 of
the Federal Rule of Civil Procedure “unequivocally establishes that a third-party claim is not a
separate ‘action’ that comprises part of a larger ‘case’; rather, it is a claim that becomes part and
parcel of an existing action.” Booty v. Shoney’s, Inc., 872 F.Supp. 1524, 1528 (E.D. La. 1/11/95)
citing Nolan v. Boeing Co., 919 F.2d 1058, 1066 (5th Cir.1990) (emphasis added). Likewise, the
term “civil action” as used in § 1441(a) is broad enough to encompass derivative claims over
which the court has supplemental jurisdiction which become “part and parcel” of the primary
civil action. In other words, any additional “claims” over which the court
has supplemental jurisdiction, become part of the original “civil action.” Booty, 872 F.Supp. at
1528.

XII.

Once the defendants have met their burden of proving that the claim, more likely than
not, exceeds $75,000.00, the plaintiff can only defeat removal by proving “to a legal certainty”
that the claim will not exceed $75,000.00. De Aguilar vy. Boeing Co., 47 F.3d 1404, 1411 (Sth
Cir.1995). In De Aguilar, the Court held that, in the absence of a prayer for less than the
jurisdictional amount and a state statute prohibiting an increase in the amount initially prayed
for, to establish “legal certainty” that a claim does not meet or exceed the requisite jurisdictional

amount, a litigant who wants to prevent removal must file a binding stipulation or affidavit with
 

Case 6:13-cv-02602-CBW Document1 Filed 09/04/13 Page 7 of 8 PagelD#: 7

their complaint. De Aguilar v. Boeing Co., 47 F.3d at 412. Once a defendant has removed the
case St. Paul makes later filings irrelevant. De Aguilar v. Boeing Co., 47 F.3d at 412 (referencing
St. Paul Mercury Indemnity Co. v. Red Cab Co., 303 U.S. 283, 58 S.Ct. 586, 82 L. Ed. 845
(1938); and citing, Jn re Shell Oil Co., 970 F.2d 355, 356 (7th Cir. 1992). (Emphasis Added). In
his case, Plaintiff has not filed a binding stipulation.

XIII.

Further citing St. Paul Mercury, the De Aguilar Court noted that “[i]n order for a federal
court to decline jurisdiction, ‘[i]t must appear to a legal certainty that the claim is really for less
than the jurisdictional amount.”” De. Aguilar, 47 F.3d at 1409.

XIV.

The above-captioned civil action is therefore removable to this United States District

Court pursuant to 28 U.S.C. § 1441(a) and 28 U.S.C. § 1446.
XV.

Copies of all pleadings, process, orders, and other filings in the state court suit are

attached to this notice as required by 28 U.S.C. §1446(a).
XVI.

Venue is proper in this district under 28 U.S.C. §1441(a) because the state court where

the suit has been pending is located in this district.
XVII.
This action is removable under and by virtue of the acts of Congress of the United States

and the defendant desires to remove it to this Court.
Case 6:13-cv-02602-CBW Document1 Filed 09/04/13 Page 8 of 8 PagelD#: 8

Accordingly, Defendant, Dollar General, asks that the above-captioned action be
removed to this Court, the United States District Court for the Western District of Louisiana, in

accordance with the provisions of 28 U.S.C. § 1441, et seq.

 

 

CERTIFICATE OF SERVICE Respectfully Submitted,

I hereby certify that a copy of the above | HAILEY, McNAMARA, HALL,
has been served on all counsel of record via | LARMANN & PAPALE, L.L.P.
facsimile, hand delivery, and/or by depositing
same in the United States Mail, postage pre- | BY: _s://Sean P. Mount
paid and properly addressed as indicated | DOMINIC J. OVELLA, #15030 — T.A.

below. dovella@hmhlp.com
SEAN P. MOUNT, #27584
Jonathan C. Vidrine smount@hmhlIp.com
West & Vidrine JASON M. BAER, #31609
510 West Magnolia :
P.O. Box 1019 jbaer@hmhlp.com
Ville Platte, LA 70586 One Galleria Boulevard, Suite 1400
Metairie, Louisiana 70001
This, the 4 September 2013. Telephone: (504) 836-6500

Counsel for Defendants, Dolgencorp, LLC and
Dollar General Corporation

S:4 Sean P. Mount

 

 

 

 
